                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    CENTRAL DIVISION

UNITED STATES OF AMERICA                      )       No. 4:23CR Od~V\ -Sf'/\
                                              )
V.                                            )       18 U.S.C. § 922(g)
                                              )       21 U.S.C. § 841(a)(l)
                                              )       21 U.S.C. § 841(b)(l)(B)
                                              )       18 U.S.C. § 924(c)(l)(A)(i)
DERON WALK.ER                                 )



                                          INDICTMENT

THE GRAND JURY CHARGES THAT:

                                             COUNT 1

              A.        On or about March 16, 2023, the defendant,

                                        DERON WALKER,

had been previously and knowingly convicted of a crime punishable by a te1m of imprisonment

exceeding one year, that is: Theft by Receiving, in Jefferson County, Arkansas, Circuit Com1 in

Case Number 35CR-09-219.

              B.        On or about March 16, 2023, in the Eastern D'istrict of Arkansas, the

defendant,

                                        DERON WALK.ER

knowingly possessed, in and affecting commerce, a firearm, that is: a F.N., model Five-Seven

MK2, 5.7x28mm pistol, bearing serial number 386428077, in violation of Title 18, United States

Code, Section 922(g).

                                            COUNT2

       On or about March 16, 2023, in the Eastern District of Arkansas, the defendant,

                                           DERON WALK.ER, .


                                                     1
    knowingly and intentionally possessed with intent to distribute at least 40 grams, but less than

    400 grams, of a mixture and substance containing a detectable amount of fentany 1, a Schedule II

    controlled substance, in violation of Title 21, United States Code, Sections 841(a)(l) and

    841 (b )(1 )(B).
'
                                                  COUNT3

            On or about March 16, 2023, in the Eastern District of Arkansas, the defendant,

                                            DERON WALKER,

knowingly and intentionally possessed firearm, that is: a F.N., model Five-Seven MK2,

5. 7x28mm caliber pistol, bearing serial number 3 86428077, in furtherance of a drug trafficking

crime prosecutable in a comi of the United States, that is: a violation of Title 21, United States

Code, Section .841(a)(l), as set fo1ih in Count 2 of this Indictment.

            All in violation of Title 18, United States Code, Section 924( c)(1 )(A)(i).

                                    FORFEITURE ALLEGATION 1

            Upon conviction of Count 2 of this Indictment, the defendant, DERON WALKER, shall

forfeit to the United States, under Title 21, United States Code, Section 853(a)(l), all property

constituting, or derived from, any proceeds the person obtained, directly or indirectly, as a result

of the offense.

                                    FORFEITURE ALLEGATION 2

            Upon conviction of Count 2 of this Indictment, the defendant, DERON WALKER, shall

forfeit to the United States, under Title 21, United States Code, Section 853(a)(2), all of the

person's property used or intended to be used, in any manner or part, to commit, or to facilitate

the comniission of the offense.




                                                          2
                               FORFEITURE ALLEGATION 3

       Upon conviction of Count 1, 2, or 3 of this Indictment, the defendant, DERON

WALKER, shall forfeit to the United States, under Title 18, United States Code, Section 924( d),

Title 21, United States Code, Section 853 , and Title 28, United States Code, Section 2461(c), all

firearms and ammunition involved in the commission of the offense.




                     [END OF TEXT. SIGNATURE PAGE ATTACHED.]




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